
64 So. 3d 760 (2011)
S.B., Mother of B.R., S.R., Children, Appellant,
v.
DEPARTMENT OF CHILDREN AND FAMILIES, Appellee.
No. 5D11-36.
District Court of Appeal of Florida, Fifth District.
July 7, 2011.
Edward M. Abel of the Law Office of Edward M. Abel, D.M.D., Esq., LLC, Spring Hill, for Appellant.
Rosemarie Farrell, Orlando, for Appellee.
Wendie Michelle Cooper, Tavares for the Guardian ad Litem Program.
PER CURIAM.

ON CONFESSION OF ERROR
Pursuant to the Appellee's confession of error, the "Order of Adjudication [of Dependency] and Modification of Injunction" is reversed and this cause is remanded for further proceedings.
REVERSED and REMANDED.
ORFINGER, C.J., GRIFFIN and COHEN, JJ., concur.
